Case 2:05-cr-20122-SH|\/| Document 50 Filed 08/24/05 Page 1 of 2 Page|D 54

 

 

IN THE UNITED STATES I)ISTRICT coURT FH-ED B"' ~-_._. D-C.
FoR THE WESTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 95 AUG 214 AH 6= 58
ltUWlS'M`GOULD
CLEF?( U. S -'""Tii' 'fl` COURT
UNITED sTATEs oF AMERlCA, ) WD {” ’ " 'J""MS
Plaintiff, )
)
vs. ) Cr. No.OS-cr-ZOIZZ~B/.D
)
)
AARoN coBB, )
Defendant. )

 

ORDER ON NOTICE OF CASE STRATUS AND
UNOPPOSED MOTION TO RESCHEDULE REPORT DATE

 

'Ihis matter came on to be heard upon notice of case status and motion to reschedule report
of defendant Aaron Cobb. The Coult accepts the Written report of the status of the case.
For good cause shown and Without objection by the United States, the Court GRANTS the

unopposed motion to reschedule the report set for Thursday, August 25, 2005, at 9:00 a.rn. The

report in this cause is rescheduled for REPORT on 22nd (day), @Mmonth),
(date), 2005 at § , f )_CQJ..,..{time).

The delay is excludable under 18 U.S.C. § 3161 (h)(S)(A) as the ends of justice Served by

granting defendant’s motion outweigh the best interest of the public and the defendant in a speedy
trial.

IT SO ORDERED this § 3d day of August, 2005.

Q/Z;QL<Q..,Q./

IUDGE' _r w ""‘
UNITED STATES DIsrRICT COURT

Thls document entered on the docket heat in compliance
wltb F|ute L:‘:' ami/or 32{1:)) FHCrP on g'£é_'_g 5

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:05-CR-20122 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

